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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

Eddie L. Bolden, et al.
                                 Plaintiff,
v.                                                    Case No.: 1:17−cv−00417
                                                      Honorable Steven C. Seeger
City of Chicago, et al.
                                 Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, October 25, 2021:


        MINUTE entry before the Honorable Steven C. Seeger: Plaintiff's motion for the
Court to take judicial notice of facts relating to the malicious prosecution claim (Dckt. No.
[536]) is hereby granted in part. The Court took judicial notice of certain facts relating to
Bolden's conviction, direct appeal, post−conviction petition, and Certificate of Innocence
on October 22, 2021. The Court read a modified version of the facts into the record. The
Court took judicial notice of some, but not all, of the facts proposed by Plaintiff. (Dckt.
No. [536]) The Court took judicial notice of the procedural history relating to Bolden's
criminal case. For the reasons explained on the record, the Court did not take judicial
notice of judicial commentary on the strengths and weaknesses of the evidence. It is
sufficient to tell the jury that the Circuit Court of Cook County concluded that Bolden
suffered prejudice, and that there was a reasonable probability that the outcome of the
criminal trial would have been different but for the ineffective assistance of counsel. That
fact, plus the Certificate of Innocence, is enough to inform the jury what took place,
without creating the risk of undue prejudice from the jury placing disproportionate weight
on judicial commentary about the evidence. That ruling is also a fair depiction of the
ruling itself, meaning the decision by Judge Maldonado of the Circuit Court of Cook
County on January 21, 2016. That Court concluded that Bolden had suffered prejudice,
but did not include a detailed discussion of the strengths or weaknesses of the evidence as
a whole. The penultimate paragraph stated that the case against Bolden was "far from
overwhelming" and "slight,quot; but the Circuit Court of Cook County expressly relied on
the Appellate Court's discussion of that issue, without itself getting into the merits of the
evidence of guilt or innocence. Overall, it is not necessary to tell the jury, in the case
before this Court, about those two sentences of judicial commentary. Telling the jury the
conclusion on the ineffective assistance of counsel claim, including the finding of
prejudice but without getting into judicial commentary on the evidence, is enough. It
paints an accurate picture of what took place, while avoiding a risk of undue prejudice that
the jury will give outsized importance to a judge's view of the evidence. Mailed notice.
(jjr, )
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